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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 ROBERT W. MCKENNEY,                              )   Docket No. 2:16-cv-00630-JAW
                Plaintiff                         )
                                                  )
 v.                                               )
                                                  )
 THOMAS FARRINGTON, ET AL                         )
                     Defendants                   )
                                                  )


  DEFENDANTS THOMAS FARRINGTON AND LANE FELDMAN’S ANSWER AND
         AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT


       NOW COME Defendants Thomas Farrington and Lane Feldman, through counsel, and

hereby respond to the allegations contained in Plaintiff’s Complaint as follows:

                                  AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action against either Defendant upon

which relief may be granted.

       B. Plaintiff has failed to exhaust his administrative remedies, and his claim is therefore

barred by the provisions of the Prison Litigation Reform Act.

       C. Defendants are entitled to qualified immunity.

       D. Defendants are entitled to discretionary function immunity under the Maine Tort

Claims Act.

       E. Defendants are entitled to intentional act immunity under the Maine Tort Claims Act.
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                                                    ANSWER1

         1. The Defendants admit that the Plaintiff was transferred from the Cumberland County

Jail to the Androscoggin County Jail and that, at some time during his incarceration in the

Androscoggin County Jail, he was assigned “pod trustee.” The Defendants deny the remaining

allegations contained in this paragraph of Plaintiff’s Complaint.

         2. The Defendants admit that the Plaintiff was written up for an alleged rules violation,

but deny the remaining allegations contained in this paragraph of Plaintiff’s Complaint.

         3.     The Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

                                       Extension to Statement of Claim

         Defendants deny the allegations contained in the first unnumbered paragraph in this section

of Plaintiff’s Complaint.

               Motion for Preliminary Injunction or (TRO) Temporary Restraining Order

         Defendants do not respond to the allegations contained in this portion of Plaintiff’s

Complaint because the Court has denied this request for relief.

                                    Exhaustion of Grievance Procedures

         The Defendants deny that Plaintiff has complied with all available grievance procedures

and affirmatively assert that his failure to do so bars any claims against these Defendants.

              Statement of Claim (Extension page 7) – Complaint About Ofr. Farrinton(sic)

         1. Defendants deny the allegations contained in this portion of Plaintiff’s Complaint.

         To the extent that there are any remaining allegations contained in Plaintiff’s Complaint or


1
 Defendants are aware of the Recommended Decision After Screening (ECF No. 7) and the Order Affirming the
Recommended Decision (ECF No. 9). Notwithstanding the dismissal of all but two of Plaintiff’s claims, the
Defendants answer all of the allegations contained in the Plaintiff’s Complaint (proper) and in the documents appended
thereto.
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appended statements of claim or extensions thereto, these Defendants deny each and every such

allegation.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiff and

request that they be awarded costs and attorneys fees and such other and further relief as the Court

may deem just and proper under the circumstances.


Dated: May 15, 2017                                    /s/ Peter T. Marchesi
                                                     Peter T. Marchesi, Esq.


                                                      /s/ Cassandra S. Shaffer
                                                     Cassandra S. Shaffer, Esq.

                                                     Wheeler & Arey, P.A.
                                                     Attorneys for Defendants
                                                     27 Temple Street, P.O. Box 376
                                                     Waterville, ME 04903-0376
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                             UNITED STATES DISTRICT COURT
                                     District of Maine

                                                    )      Docket No. 2:16-cv-00630-JAW
ROBERT W. MCKENNEY,                                 )
          Plaintiff                                 )
                                                    )
v.                                                  )
                                                    )
THOMAS FARRINGTON, ET AL,                           )
         Defendant                                  )
                                                    )

                                  CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, hereby certify that:

       ●      Defendant Thomas Farrington and Lane Feldman’s Answer and Affirmative
              Defenses to Plaintiff’s Complaint

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

       None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

              Robert W. McKenney
              40 Pleasant Street
              Auburn, ME 04210


Dated: May 15, 2017                                   /s/ Peter T. Marchesi
                                                    Peter T. Marchesi, Esq.
                                                    Wheeler & Arey, P.A.
                                                    Attorneys for Defendant
                                                    27 Temple Street, P.O. Box 376
                                                    Waterville, ME 04903-0376
